            Case 1:22-cv-02588-CKK Document 46 Filed 10/27/23 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA




NORTHWESTERN MUTUAL LIFE
INSURANCE COMPANY,

             Plaintiff,
                                                           Civil Action No. 22-2588 (CKK)
        v.

J.R.H., ex rel. MALEEQUA C. HALL, et al.

             Defendants.


                  JOINT MOTION TO AMEND JOINT DISCOVERY PLAN

       J.R.H. and M.R.H., by and through their counsel and guardian ad litem; Jeremiah

Watson; and Jennifer Izumi hereby move the Court to amend the case schedule reflected in the

proposed scheduling order appended to the parties’ meet-and-confer statement (Dkt. 37) and the

joint discovery plan (Dkt. 41) to allow the parties additional time to complete discovery. The

parties state the following in support of this motion:

       1.       The Court held an initial scheduling conference on August 4, 2023, at which the

Court adopted the following deadlines for this matter:

                          Action                                       Date

 Proponent’s Rule 26(a)(2)(B) & (C)                December 22, 2023
 disclosures due
 Opponent’s Rule 26(a)(2)(B) & (C)                 January 19, 2024
 disclosures due
 Reply disclosures due                             February 16, 2024

 Close of all discovery                            March 1, 2024
             Case 1:22-cv-02588-CKK Document 46 Filed 10/27/23 Page 2 of 4




        2.       The parties have exchanged discovery requests and responses, but they have not

yet completed discovery despite their diligent efforts.

        3.       Furthermore, Mr. Watson’s retention of separate counsel upon reaching the age of

majority has necessitated additional coordination between guardian ad litem for M.R.H. and

J.R.H. and Mr. Watson’s counsel as part of the transfer of representation.

        4.       The parties therefore submit that there is good cause to extend the current

discovery schedule in order to facilitate the parties’ exchange of discovery and the expeditious

resolution of this litigation.

        5.       The parties respectfully request that the Court extend the discovery schedule as

set out in the proposed amended joint discovery plan attached to this motion.

        6.       The parties additionally respectfully request that the Court enter their stipulated

protective order (Dkt. 43) to facilitate the free exchange of information during discovery.

        7.       No other deadlines in this case are affected by the extensions requested in this

motion.

        8.       The parties submit this motion in good faith and not for purposes of delay.

        9.       The parties have conferred about this motion and agree on the extensions

requested herein.

        10.      A proposed order amending the joint discovery plan is attached to this motion.




                                                   2
         Case 1:22-cv-02588-CKK Document 46 Filed 10/27/23 Page 3 of 4




Dated: October 27, 2023                Respectfully submitted,

                                       By:   /s/ Matthew M. Girgenti
                                             Matthew M. Girgenti [Bar #1033735]
                                             WILMER CUTLER PICKERING
                                             HALE AND DORR LLP
                                             2100 Pennsylvania Avenue NW
                                             Washington, DC 20037
                                             Telephone: (202) 663-6000
                                             Facsimile: (202) 663-6363
                                             Matthew.Girgenti@wilmerhale.com

                                             Counsel and Guardian Ad Litem for
                                             Defendants J.R.H. and M.R.H.

                                             /s/ William R. Martin
                                             William R. Martin [Bar #465531]
                                             Erin C. Steele [Bar #1656360]
                                             BARNES & THORNBURG LLP
                                             555 12th Street NW, Suite 1200
                                             Washington, DC 20004
                                             Telephone: (202) 289-1313
                                             Facsimile: (202) 289-1330
                                             billy.martin@btlaw.com

                                             /s/ Dayna Cooper
                                             Dayna Cooper [Bar #1033851]
                                             COOPER LEGAL, LLC
                                             1 Olympic Place, Suite 900
                                             Towson, MD 21204
                                             Telephone: (202) 642-5470
                                             dayna@cooperlegalsolutions.com

                                             Attorneys for Cross-Defendant Jennifer D.
                                             Izumi

                                             /s/ Michael S. Nadel
                                             Michael S. Nadel [Bar #470144]
                                             McDERMOTT WILL & EMERY LLP
                                             500 North Capitol Street NW
                                             Washington, DC 20001
                                             Telephone: (202) 756-8000
                                             mnadel@mwe.com

                                             Attorney for Defendant and Cross-Claim
                                             Plaintiff Jeremiah Watson


                                       3
         Case 1:22-cv-02588-CKK Document 46 Filed 10/27/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all counsel of

record by electronic service through the Clerk of the Court’s CM/ECF filing system.


Dated: October 27, 2023                          By:    /s/ Matthew M. Girgenti
